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                                            Count Two
                                  Felon in Possession of a Firearm
                                (Violation of 18 U.S.C. § 922(g)(1))

            On or about September 24,2019, in the Northern District of Texas, defendant

    Adolphus Quin Petty, knowing that he had been previously convicted of a crime

    punishable by a term of imprisonment exceeding one year, that is, a felony, did

    knowingly possess in and affecting interstate and foreign commerce the following

    frrearms and ammunition: one (1) Smith and Wesson, Military & Police model1905, 4th

    change version, .38 caliber revolver, bearing serial number 563865.

             In violation of 18 U.S.C. § 922(g)(l).




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                                                  Forfeiture Notice
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                                    (18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

                     Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction of

              any offense violating 18 U.S.C. § 922, Adolphus Quin Petty shall forfeit to the United

              States of America any firearm and ammunition involved in or used in the commission of

             the respective offense, including but not limited one (1) Smith and Wesson, Military &

             Police model1905, 4th change version, .38 caliber revolver, bearing serial number

              563865.



                                                        FOREPERSON



                                                        ad!:
             ERIN NEALY COX
             U}ITTEDSTATESATTORNEY




       ~ Assistant United States Attorney
         Massachusetts State Bar No. 687739
         801 Cherry Street, Suite 1700
         Fort Worth, Texas 76102
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                       IN THE UNITED STATES DISTRICT COURT
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                       FOR TilE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION



                          TilE UNITED STATES OF AMERICA

                                            v.

                            ADOLPHUS QUIN PETIY (01)
                              ALPHONSE FISHER (02)
                           BARBARA JEAN MCCLAIN (03)


                                     INDICTMENT

                21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
Conspiracy to Dispense and Distribute, or Possess with Intent to Dispense and Distribute
                               a Controlled Substance
                                        1 Count

                                  18 u.s.c. § 922(g)(1)
                             Felon in Possession of a Firearm
                                         1 Count

                        18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
                                 FORFEITURE NOTICE

A true bill rendered

DALLAS                                                                  FOREPERSON

Filed in open court this 20th day of October, 2020.
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Defendant in (01) in Federal Custody since 09/24/2020; Defendant (02) in Federal
Custody since 09/30/2020; Defendant (03) on Pretrial Release.




                                      Magistrate Court Number: 4:20-MJ-611-B
